       Case 19-23480-GLT                     Doc       Filed 08/25/22 Entered 08/25/22 08:58:58                                  Desc Main
   Fill in this information to identify the case:
                                                       Document      Page 1 of 7
Fill in this information to identify the case:
Debtor 1        Judith A. Harmo n
Debtor 2                                                                                  (Spouse, if filing)
Debtor 3

United States Bankruptcy Court for the:WESTERN District of PA
                                                                           (State)

Case number       19-23480




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                 12/15

If you file a claim secured by a security interest in the debtor's principal residence provided for under the debtor's plan pursuant to 11.
U.S.C. § 1322(b)(5), you must use this form to give notice of any changes in the installment payment amount. File this form as a
supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor: PNC BANK, NA                                                         Court claim no. (if known): 3



 Last 4 digits of any number you use to
identify the debtor’s account:          9                  9        9        3                  Date of payment change:
                                                                                                Must be at least 21 days after date
                                                                                                                                          10__/01__/2022_
                                                                                                of this notice.


                                                                                                New total payment:
                                                                                                Principal, interest, and escrow, if any   $ 793.88_____

 Part 1:      Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
for the change. If a statement is not attached, explain why___________________________________________________


                 Current escrow payment: $281.27                    New escrow payment:                            $ 283.78


 Part 2:      Mortgage Payment Adjustment


 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor's
      variable-rate note?
           No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
              attached, explain why: _____________________________________________________________


                 Current interest rate:                         %                     New interest rate:                                  %

                 Current principal and interest payment: $                           New principal and interest payment: $


 Part 3:      Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
              (Court approval may be required before the payment change can take effect.)

                 Reason for change: __________________________________________________________________________________

                 Current mortgage payment: $                                          New mortgage payment: $
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                                                          Document      Page 2 of 7




Part 4:        Sign Here


The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

          I am the creditor.

          I am the creditor’s authorized agent. (Attach copy of power of attorney, if any.)



I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.




     /s/ VICKI PRINGLE                                                                  Date   08     / 25    /   2022
   Signature




Print:           Vicki______________ ____________ Pringle___________ Title                 Bankr up tc y Specia lis t
                 First Name                 Middle Name         Last Name



Company           PNC Bank, N.A.


Address           3232 Newmark Drive
                 Number            Street


                    Miamisburg                                 OH           45342
                 City                                           State        ZIP Code



Contact phone    ( 866 ) 754 – 0659                  Email   Bankruptcy@pnc.com
                                               REPRESENTATION OF PRINTED DOCUMENT
           Case 19-23480-GLT                   Doc        Filed 08/25/22 Entered 08/25/22 08:58:58                               Desc Main
                                                          Document      Page 3 of 7




                                                                                                LOAN NUMBER:
                                                                                                   PREPARED: August 05, 2022

           JUDITH ANN HARMON
           229 NAVAHO DR
           GREENSBURG PA 15601-4933
                                                                                                CUSTOMER SERVICE 1-800-822-5626

                                                                                                   pnc.com/mortgagecustomercare


                                                               Your Escrow Summary
Real Estate Settlement Procedures Act (RESPA) guidelines require us to provide you with an Annual Escrow Analysis Statement which includes all of
your escrow disbursements from the previous year, as well as your estimated escrow disbursements for the upcoming year. All of the information that is
provided on your enclosed annual escrow analysis statement is regulated by RESPA and cannot be changed. In an effort to simplify the escrow account
information and monthly payment information that is calculated on the original document, we have also included this summary which will provide you with
a quick snapshot of your actual escrow analysis statement. Please note that increases or decreases in your property taxes and/or insurance premiums
will result in a change in your monthly payment amount, and may result in an escrow shortage or surplus.



                                                      New Monthly Payment                               Current Monthly Payment

Payment Effective Date                                       October, 2022                                        October, 2021
Payment Amount                                                    $793.88                                              $791.37

Monthly Payment Breakdown                             New Monthly Payment                               Current Monthly Payment

Principal & Interest                                                 $510.10                                             $510.10
Escrow Items                                                         $281.51                                             $279.33
Escrow Surplus/Shortage Amount                                         $2.27                                               $1.94
Total Monthly Payment                                                $793.88                                             $791.37

Monthly Escrow Collection Amount                      New Monthly Collection Amount                     Current Monthly Collection Amount

Monthly Tax Amount                                                   $215.84                                             $215.91
Monthly Insurance Amount                                              $65.67                                              $63.42
Monthly MIP/PMI Amount                                                 $0.00                                               $0.00
Monthly Surplus/Shortage Amount                                        $2.27                                               $1.94
Total Monthly Escrow Amount                                          $283.78                                             $281.27

Annual Escrow Collection Amount                       New Annual Collection Amount                      Current Annual Collection Amount

Annual Tax Amount                                                 $2,590.04                                            $2,590.95
Annual Insurance Amount                                             $788.00                                              $761.00
Annual MIP/PMI Amount                                                 $0.00                                                $0.00
Total Annual Escrow Collection Amount                             $3,378.04                                            $3,351.95




   Please see reverse for more information and Frequently Asked Questions about escrow
   analysis.
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                                                         PNC Bank
                                                         Attn: Tax Department-B6-YM13-01-7
                                                         P.O. Box 1804
                                                         Dayton, OH 45401-1804




                                                         PNC Bank, NA
                                                         ISAOA ATIMA
                                                         P.O. Box 7433
                                                         Springfield, OH 45504
                                                         1-888-229-5429




     Account Access 24 hours a day – 7 days a week                               Convenient • Toll-Free • Easy-To-Use
           pnc.com/mortgagecustomercare                                                   1-800-822-5626




                 PNC Bank, NA                                                              C/O PNC Bank
        Attn: Customer Service Research
                  B6-YM07-01-7                                                           Lockbox 771021
                 P.O. Box 1820                                                          350 East Devon Ave
             Dayton, OH 45401-1820                                                        Itasca, IL 60143
PNC Bank, a division of PNC Bank, National Association
                                                           REPRESENTATION OF PRINTED DOCUMENT
                 Case 19-23480-GLT        Doc
                               P.O. Box 1820                          Filed 08/25/22 Entered 08/25/22    08:58:58
                                                                                                      ESCROW       Desc Main
                                                                                                              ACCOUNT
                                                 Dayton, OH 45401-1820 Document        Page 5 of 7 DISCLOSURE  STATEMENT
                                                 Website: pnc.com/mortgagecustomercare
                                                 Customer Care Center: 1-800-822-5626                                            LOAN NUMBER:
                                                                                                                                        DATE:                        August 05, 2022

                                                                                                                                 PROPERTY ADDRESS:
                                                                                                                                    229 NAVAHO DRIVE
                                                                                                                                    GREENSBURG, PA 15601


                 JUDITH ANN HARMON
                 229 NAVAHO DR
                 GREENSBURG PA 15601-4933




  CURRENT MONTHLY MORTGAGE PAYMENT
   Principal & Interest                                                            510.10          Æ                          NEW PAYMENT INFORMATION
                                                                                                                 Principal & Interest                                                            510.10

                                                                                                   Æ
   Escrow                                                                          279.33                        Escrow                                                                          281.51
   Prorated Escrow Shortage                                                          1.94                        Prorated Escrow Shortage                                                          2.27
   Total Payment                                                                   791.37                        Total Payment                                                                   793.88

                                                                                                   Æ
                                                                                                                 New Payment Effective Date                                                    10/01/22



                                                                            COMING YEAR ESCROW PROJECTION
 This statement provides a detailed summary of activity related to your escrow account. PNC Bank maintains your escrow account to pay such items as property taxes,
 insurance premiums, and mortgage insurance.
 This section lists a 12-month running escrow balance to determine the appropriate target balance and to determine if a shortage or surplus exists. This is a projection of the
 anticipated activity in your escrow account for the coming 12 months.

   ANTICIPATED ESCROW DISBURSEMENT                                          PAYMENTS                                                             PAYMENTS               CUR BAL             REQ BAL
                                                             MONTH         TO ESCROW                      DESCRIPTION                          FROM ESCROW            PROJECTION          PROJECTION
HAZARD INS                                    $788.00
                                                                                                       BEGINNING BALANCE                                                    207.08             281.42
CITY TAX                                      $608.17
                                                             October             281.51                                                                                       488.59              562.93
TAXES                                        $1,981.87
                                                             November            281.51                                                                                       770.10              844.44
                                                             December            281.51                                                                                     1,051.61            1,125.95
                                                             January             281.51                 HAZARD INS                                 788.00                     545.12              619.46
                                                             February            281.51                                                                                       826.63              900.97
                                                             March               281.51                                                                                     1,108.14            1,182.48
TOTAL DISBURSEMENTS                          $3,378.04
                                                             April               281.51                   CITY TAX                                 608.17                     781.48              855.82
DIVIDED BY 12 MONTHS                                         May                 281.51                                                                                     1,062.99            1,137.33
                                                             June                281.51                                                                                     1,344.50            1,418.84
MONTHLY ESCROW DEPOSIT                         $281.51       July                281.51                                                                                     1,626.01            1,700.35
                                                             August              281.51                                                                                     1,907.52            1,981.86
 CALCULATION OF ESCROW ADJUSTMENT                            September           281.51                 SCHOOL TAX                               1,981.87                     207.16 *            281.50 **
                                                             * The projected escrow balance at the low point.
BEGINNING PROJECTED BALANCE                    $207.08       ** The lowest balance the escrow account should attain during the projected period.
BEGINNING REQUIRED BALANCE                     $281.42


ESCROW SHORTAGE                                  $27.25
                                                                                                             MORE INFORMATION ON REVERSE SIDE
The required minimum balance allowed by
federal law (RESPA) is two times your monthly
escrow payment (excluding MIP/PMI), unless
your mortgage document or state law specifies
a lower amount.



                                                                             IMPORTANT MESSAGES
 The shortage in your recent escrow analysis was automatically spread across your upcoming payments, interest free. However, if you wish to discuss options that do not result
 in an increase in your payment, please contact us via the following options: Visit a local Branch, visit our Online Banking, or call our Customer Care team.
 Make your check, money order or cashier's check payable to PNC Bank. All Payments must be funds from a U.S. Bank Account and are subject to PNC's acceptance. Do NOT
 send cash by mail.



 We understand that you have filed for bankruptcy and have not yet received a discharge. None of the information requested in this statement will be used for the collection of any debts or for purposes
 prohibited by the Bankruptcy Code or other applicable Federal or state law.




                                                                                      INTERNET REPRINT


 How to contact us or make your monthly Mortgage payments:

              Make your check, money order or cashier’s check payable to PNC                                                           Online Banking Payments:
              Bank and include your loan number and allocation instructions on                                                         pnc.com/mortgagecustomercare
              memo line. Do not send cash by mail.
              Regular Mail:                                          Overnight:                                                        We are here, if you have questions or need
              PNC Mortgage                                           C/O PNC Bank                                                      assistance, please contact our Customer Care
              Payments                                               Lockbox 771021                                                    Center at 1-800-822-5626.
              P.O. Box 771021                                        350 East Devon Ave                                                    Monday-Thursday 8:00 a.m. - 9:00 p.m. ET
              Chicago, IL 60677                                      Itasca, IL 60143                                                      Friday 8:00 a.m. - 5:00 p.m. ET
                                                                                                                                           Saturday 9:00 a.m. - 2:00 p.m. ET
              All payments must be funds from a U.S. Bank Account and are                                                              You can also visit your local PNC branch.
              subject to PNC’s acceptance.
                                      Case 19-23480-GLTESCROW
                                                         Doc ACCOUNT
                                                              Filed 08/25/22   EnteredSTATEMENT
                                                                        DISCLOSURE     08/25/22 08:58:58                                         Desc Main
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        LOAN NUMBER:                                                                                                                           DATE: August 5, 2022

        Your projected escrow balance as of 09/30/22 is $207.08. Your required beginning escrow balance, according to this analysis, should be $281.42. This
        means you have a shortage of $27.25. We have divided the shortage interest-free, over 12 months. If you choose to pay the shortage in full, then your new
        monthly mortgage payment will be reduced to $791.61.
        Once during this analysis period, your required escrow balance should be reduced to a target balance of $281.50, as it does in September. Under Federal
        law, your target balance should not exceed an amount equal to two months of escrow payments for taxes and insurance, unless your mortgage document or
        state law specifies a lower amount.

        Projected Activity from the Previous Analysis
        This is a projection of the activity for your escrow account from the Previous Analysis. This projection was based on the disbursements anticipated to be
        made from your escrow account. Compare this projection to the actual escrow activity in the Account History (summarized below).
        The escrow payment in this projection may not equal the escrow payment in the Account History if an adjustment was made to collect a shortage or refund
        a surplus.
        Adjustments to the payment and differences between the anticipated and actual disbursements may prevent the actual balance from reaching the projected
        low escrow balance.
            Date                                          Description                                Payments                  Disbursements                                                                                                        Balance
                                                          BEGINNING BALANCE                                                                                                                                                                          279.32
         10/21                                                                                         279.33                                                                                                                                        558.65
         11/21                                                                                         279.33                                                                                                                                        837.98
         12/21                                                                                         279.33                                                                                                                                      1,117.31
         01/22                                            HAZARD INS                                   279.33                        761.00                                                                                                          635.64
         02/22                                                                                         279.33                                                                                                                                        914.97
         03/22                                                                                         279.33                                                                                                                                      1,194.30
         04/22                                            CITY TAX                                     279.33                        608.17                                                                                                          865.46
         05/22                                                                                         279.33                                                                                                                                      1,144.79
         06/22                                                                                         279.33                                                                                                                                      1,424.12
         07/22                                                                                         279.33                                                                                                                                      1,703.45
         08/22                                                                                         279.33                                                                                                                                      1,982.78
         09/22                                            SCHOOL TAX                                   279.33                       1,982.78                                                                                                         279.33 **
        TOTAL                                                                                        3,351.96                       3,351.95

        Account History
        This is a statement of actual escrow account activity from September 2021 through September 2022. Compare it to the Projected Activity from the Previous
        Analysis which appears above the Account History.
        Your total mortgage payment during the past year was $791.37 of which $510.10 was your Principal and Interest payment and $279.33 was your escrow
        payment.
             Date                  Description                                             Payments                Disbursements                   Balance
                                   BEGINNING BALANCE                                                                                             -2,019.32
            09/21                  SCHOOL TAX                                              1,114.60                      1,981.87                -2,019.32
            10/21                                                                            278.65                                              -1,740.67
            11/21                  HAZARD INS                                                                              788.00 *              -2,528.67
            12/21                                                                          1,114.60                                              -1,414.07
            02/22                                                                            557.30                                                 -856.77
            03/22                  CITY TAX                                                  841.19                        608.17 *                 -623.75
            04/22                                                                            281.27                               *                 -342.48
            05/22                                                                            281.27                                                  -61.21
            06/22                                                                            281.27                                                  220.06
            07/22                                                                            843.81                                               1,063.87
            08/22                                                                            843.81 e                                             1,907.68
            09/22                  SCHOOL TAX                                                281.27 e                    1,981.87 *e                 207.08
         TOTAL                                                                             6,719.04                      5,359.91
        * Indicates a difference from projected activity either in the amount or the date.
        ** Required minimum escrow balance.
        "e" Indicates estimates for future payments or disbursements.
        If you have any questions about this analysis statement, please visit us at pnc.com/mortgagecustomercare to send us an email, write to us at PNC Bank;
        Attention: Customer Service Research; B6-YM07-01-7, PO Box 1820; Dayton, OH 45401 or call our Customer Service Department toll free number
        1-800-822-5626.




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          “ORIGINAL DOCUMENT”.
          clearly see the words
          Do not cash if you do not




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                            UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                          (Pittsburgh)

 IN RE: Judith A. Harmon                                       Case No: 19‐23480
                                                               Judge: Gregory L. Taddonio
                                                               Chapter 13


                                  CERTIFICATE OF SERVICE OF
                              Notice of Mortgage Payment Change


       I, the undersigned, hereby certify that, on August 25, 2022, a true and correct copy of
the Notice of Mortgage Payment Change was electronically served upon the following using
the Court’s CM/ECF system:

Debtor’s Attorney: Justin P. Schantz
Trustee: Ronda J. Winnecour
Office of the United States Trustee

       Further, I certify that, on August 25, 2022, a true and correct copy of the Notice of
Mortgage Payment Change was forwarded via U.S. Mail, first class postage prepaid and
properly addressed to the following at the address shown below:

       Judith A. Harmon                      229 Navajo Drive Greensburg, PA 15601


                                                            By: /s/ Vicki Pringle
                                                            Vicki Pringle
                                                            PNC Bank, N.A.
                                                            3232 Newmark Drive
                                                            Miamisburg Ohio 45342
                                                            866‐754‐0659
